alnbsg ‘layseq sulkgq = 39
QDISA

ApuNoY “S LPIA

Seer (D>

‘sino. ATM AIDA,
“JOVCU! STY} 0] UONUS}e OA IO} NOA YuRYT
‘POPIEAIOY 3q [TIM SSUDATVUL JayDOp ‘paziyeury useq sey JUSUID]II9S STY] doug

‘OINANY IBSU OY} UI UoWATWas ay) SuIzIpeUYy ayedionue
OM ‘Joyeur sty) duipresas yUSWaT Hos & payoeas sary sored OY} JEU} PISTAPe oq asKaTg

‘1241S 41a] Jeaq

WI-€7I-AD-S0 +# 19490q
WONN ‘4 sisAuig ouepy oy

TOe¢O HN ‘Ppicou0
J991]S JURSPIT SS
olysduieyy MAN JO

PLISIC] 2} JoF yNOD Jomstq “Ss -y
YZH “ers sower

S007 ‘OT Isnsny

Oz8e0 HN ‘Ias0q 7eq FW pur HN
PeoYd YIOMITINT ZP Apunoy ‘§ PLA
BB8r-EFL-C09 ¢xRy
O08P-€FZ-£09 “LAL
My'y io fausoyy
WONPIDOSsy |eUOTssajorg

sooLgjO Mey Apunoy
